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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                               DECISION AND ORDER

DERRICK PATTERSON                                                14-CR-214-(3)

                            Defendant.


          1.   On January 11, 2018, the Defendant Derrick Patterson pled guilty to a one

Count Felony Superseding Information (Docket No. 589) charging a violation of Title 21

U.S.C. §846 (conspiracy to possess with intent to distribute, and to distribute, 28 grams or

more of cocaine base within 1,000 feet of public housing authority property). The

Superseding Information also includes a forfeiture allegation.

          2.   On January 11, 2018, the Honorable H. Kenneth Schroeder, Jr. United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 592)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4.   This Court has carefully reviewed de novo Judge Schroeder’s January 11,

2018, Report and Recommendation, the Plea Agreement, the Indictment, the digital FTR

recording of the proceeding and the applicable law. Upon due consideration, this Court

finds no legal or factual error in Judge Schroeder’s Report and Recommendation, and will

accept Judge Schroeder’s recommendation that Defendant’s plea of guilty be accepted

and that the Defendant be adjudicated guilty as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s January 11,

2018, Report and Recommendation (Docket No. 592) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Derrick Patterson is provisionally

accepted, and he is now provisionally adjudged guilty of Title 21 U.S.C. 846.

      .

      SO ORDERED.


Dated: January 26, 2018
       Buffalo, New York



                                                      /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                    United States District Judge




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